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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NICKOLAS LEE,                    )
                                 )
                Plaintiff,       )
      v.                         )
                                 )                          No. 09 C 3166
CITY OF CHICAGO, MARK DUIGNAN,   )
MURPHY RAYL, ANDREW RILEY,       )                          Judge Edmond E. Chang
RONALD TURNER, JOSEPH MCINERNEY, )
AND DANIEL BINFA,                )                          JURY DEMANDED
                                 )
                Defendants.      )
                                 )


                                STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by

their respective attorneys of record that this matter has been settled pursuant to the Release and

Settlement Agreement executed by the parties and, therefore, this cause should be dismissed with

prejudice and with each party bearing its own costs and attorney’s fees in accordance with the

terms of the Release and Settlement Agreement and the proposed Agreed Order of Dismissal.

                                              Respectfully submitted,
                                              CITY OF CHICAGO
                                              a Municipal Corporation

                                              STEPHEN PATTON
                                              Corporation Counsel
                                              Attorney for City of Chicago
By: /s/ Timothy Barron
Attorney for the Plaintiff                    By: /s/ Tracey A. Dillon
Timothy Barron
                                              Attorney for the Defendants
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                                              Tracey A. Dillon (ARDC No. 6255851)
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Date: August 6, 2013
                                              Date: August 6, 2013
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                                   CERTIFICATE OF SERVICE


        I, Tracey A. Dillon, an attorney, hereby certify that on August 6, 2013, I electronically
filed the preceding Stipulation of Dismissal using the CM/ECF system which will provide notice
to all parties of record.




                                            /s/ Tracey A. Dillon
                                            Tracey A. Dillon




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